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CJA 20 APPOINTMENT OF AND AU"I`HORIT ‘i' TOeP YCOURT APPOINTED COUNSEL ms_@%[‘_
l. ClR./DlST./DI\". CODE 2. PERSON REPRESENTED VOUCHER NUMBER
CAE Benson, Michael A.
3. MAG. DKTJDEF. NUMBER 4. DlST. DKT.I'DEF. NUMBER 5. APPEALS DKT.J'DEF. NUBiBEIi l‘_') 6. OTHER DKT. NUMBER
1200-002082-001 ‘= ' “ ,,.. -
7. lN CASE[MATTER OF (Case Name) B. PAYMENT CATEGORY 9. TYPE PERSON REPRESENTED i(]. REPI!{ESENTAT|ON TYPE
n“rucuons)
U.S. v. Benson Petty Offense 7 Adult Dequdant uh __B A \'» i\%?)eal lf`rom Magistrate
ll. OFFENSE(S) CHARCED (Cite U.S. Ctide, Title & Seclinn.) ll more than one o{l'ense, list top to t`ive) mJiM-`L;en"s,:¢horged, according to severity of oli’ense.
l) 18 13-7220.P -- TRAFFIC OFFENSES, OTHER ‘,_. mST C@Ll l.\'i
‘1-?§’,?(\-` '_,..T[\‘.C‘.`LH:
iz. ATTonNEY's NAME éramN.m¢.M.i.`i.mN.m¢.in¢ludang=ny,..mo 13. count omian " iii l. ._.,.€Ll
AND MAlLING ADDR 35 l:] 0 Appoinling (.`ounsel P" m C CE|-]_C,ti!ia_igL
HUSS, GAR¥ L. m F Suhs For Feder_`iil Dei'eiider _.Ei-'R"Su s l"or Retlined Attorney
246 W Shaw Avenue #200 [] l' Suhs For Piu\d A.uorney" , j n y Siitndhy Counse|
Fresno CA 93704 Priur Attnrney’ s Nnme: ` l

 

Appointment Date:

5 Because the above-named person represented has testified under oath or has
otherwise satisfied this court that he or she (l) is financially unable to employ counsel md
-1- l i. Numb": 1559) 224-2131 (2) does not wish lo waive counsel. and because the interests ofjustii:e an require. the

r attorney whose name appears in item ll is appointed to represent this non in th`i eaae,
14. NAME AND MA|LING ADDRESS OF LAW FlRM(only provide per instructions) or pc l

 

 

 

WILD CARTER and TIPTON ij Other(See loitmc¢i¢W »\
246 W Shaw Avenue Sigualiire of PMO|T|¢: ar Order ofthe Court

 

Suite 200 ...
Fresno cA 93704 n,.,nrQ§f?°/°"“; _P»_T;“_?».l`$~_

 

Repiiymeiit or partial repayment ordered from the person represented for this service at
lime o|' appointment. § Y NO

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TOTAL MATH!TECH MATH.'TECH
, . . . . HOURS ADDITIONAL
CATEGOR[F.S (Attach itemization ol' services with dates) AMOUNT AI).IUSTED ADJUSTED
CLA"'"ED cLAiMi;n norms AMOUNT REV'EW
lS. a. Arraigiimerit and/or Plea
h. Baii and Detention llearings
c. Motion Hearings
l .
n d. Tria|
C e. Sentenciog Hearings
3 f. Revocation Hearings
:’ g. Appeals Court
h. Other (Specil`y on additional sheets)
[Rate per hour == 5 film ) TOTALS:
16. a. lnterviews and Confereiices
0 . . . .
ill b. Obtaining and reviewing records
o c. Legal research and brief writing
;_ d. Travel time
3 e. lnvestigative and 0ther work tsp¢¢iry nn additional mem
r
' (R:ite per hour= 5 (~D~m ) TOTALS:
t7. Travei Expeiises (lodging. parking, meals, mileage, etc.)
Other Expcnses (other than expert, transcripts, eic.)
19. CERTIFICATION OF ATTORNEY|'PAYEE FOR THE FERlOD OF SERVICE 20. APPO|NTMENT TERM|NAT|ON D.ATE Zl. CASE DlSPOSlTION
IF OTHER THAN CASE COMPLET]ON
FROM ____________ TO
21 CLA\M STATUS l:l Fiiii\l Poyment m Interirn Payment Numher _____ l:l Supp|ementol Paymeni
iliive you previously applied to thc court for compensation andfor remimhurs¢menl for this cose? g YES m NO lfyes. were you pniil'.' ij YES ij NO
Other than from the court, have you. or to your knowledge has anyone elie. received payment (rornpensation or anything or valued from any other source in connection with this
representatioii? l:i YES l:l NO l|’yes. give details on additional sheets.

l swear or affirm the truth or correctness of the above statements

 
  
   
 

 

  

Signature or Atioroey:

 

  
 
   

 

 

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23. N COURT COMP. 24. OU'I` OF COURT COMP. 25. TRAVEL EXPENSES 26. OTHER EXPENSES 1 . TOTAL .»\MT. APPR!CERT
28. S[GNATURE OF THE PRESIDlNC JUDlClAL OFFICER DA'I`E ZBii. .lUIJGE .' MAG. .IUDGE CODE
29. IN CUURT COMP. 30. OUT OF COURT COMP. 31. TRAVEL E.\'PENSES 32. OT`HER EXFENSES 31 TOTALAMT. APPtZOVED

34. SIGNATURE OF CHIEFJUDGE. COURT OF APPEALS {OR DELEG.ATE) Piiymeni DATE .`Ma. JUDGE CODE

approved tn e\cess of the statutory threshold amount.

 

 

 

 

 

